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   EXHIBIT R
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               IN THE UNITED STATES DISTRICT FOR THE EASTERN
                          DISTRICT OF PENNSYLVANIA

__________________________________________
MARNIE O’BRIEN                               :
                                             :
                  Plaintiff                  :             Civil Action
                                             :
      vs.                                    :             No. 2:19-cv-06078-JMG
                                             :
MIDDLE EASTERN FORUM,                        :
DANIEL PIPES (individually),                 :
and                                          :
GREGG ROMAN (individually)                   :
                                             :
                  Defendants                 :
                                             :
__________________________________________:
GREGG ROMAN                                  :
                                             :
      Counterclaim and Third-Party Plaintiff :
                                             :
      vs.                                    :
                                             :
MARNIE O’BRIEN,                              :
                                             :
      Counterclaim Defendant,                :
__________________________________________:

                       DECLARATION OF PATRICIA MCNULTY

                                   Under 28 U.S.C.A. §1746

       I, Patricia McNulty, hereby declare that the following statements are based on personal

knowledge and are true and correct to the best of my knowledge, information, and belief:

       1.     I am an adult female individual with place of residence in the State of New York.

       2.     I am thirty-eight (38) years of age.




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        3.    I was employed with the Middle East Forum from October 2017 through September

2019.

        4.    During this time I held the job title of Program Manager.

        5.    Throughout the course of my employment with Middle East Forum I was subjected

to sexual harassment by the Director, Gregg Roman.

        6.    Roman’s behavior towards my colleagues and me includes but it not limited to

leering, holding his body too close to mine or brushing against me, making inappropriate

comments about my sex life, asking me what kind of men I was attracted to, whether I would date

a Jewish man, and other ongoing inappropriate behaviors.

        7.    Many employees were invited to attend an AIPAC conference in 2018. The

conference was held in Washington, D.C. Following the conference we went to several other

social AIPAC- related events.

        8.    After these events, everyone returned to the Airbnb that Roman had rented.

        9.    While at the Airbnb, I was sitting on the couch with Lisa Barbounis. Gregg sat

between us and became inappropriate with his touching- where his arms and hands were. He then

reached underneath me, into my groin, and lifted me onto his lap by my groin and backside. I was

extremely uncomfortable by the unwelcome sexual touching and felt unsafe.

        10.   After he placed me on his lap, Roman began whispering in my ear that “no other

men should be in the room and you know why”

        11.   With regard to Marnie O’Brien, specifically, I remember Gregg Roman asking her

inappropriate questions about her dating and sex life, discussing her sex life outside of her

presence, making remarks about her allegedly sleeping with Catriona Brady’s father in order to


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get a job, leering at her legs, making comments about liking older women, wanting Marnie around

to entertain certain donors who found her attractive, and insisting on socializing with all of us

outside of work hours.

       12.     One day in particular I recall Roman came into my office, told me I was going to

the movies with him and Marnie and that we were not allowed to tell anyone that we were going.

       13.     While in an almost empty movie theater, Roman insisted on sitting between us with

no separation between the seat where Roman sat and the seats where Marnie and I sat.

       14.     In additional to these sexually harassing behaviors, Roman often pitted the staff

against Marnie.

       15.     Roman frequently told us that Marnie wanted to write us up or discipline us, and

behaved as though Marnie was grabbing for power to which she was not entitled in terms of

supervision.

       16.     Upon reflection, while I resented Marnie’s behaviors at the time and do not agree

with everything she said or did, I can see that she was trying to do her job in her capacity as the

Director of Human Resources.

       17.     Roman’s behavior toward the female staff including Marnie O’Brien made it

difficult for Marnie to perform her job.

       18.     It was apparent that Marnie O’Brian felt ostracized from the other female staff

members including me.

       19.     The female staff was frequently advised not to trust Marnie O’Brien by both Gregg

Roman and Matt Bennett.




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        20.     Roman also required the female staff to filter all communications through Greg

Roman.

        21.     Roman did not allow female staff members to speak with Dr. Pipes without either

his approval or without him being copied.

        22.     Roman often threatened the female staff including me, telling us he could gain

access to our computers and phones, that he could see our emails and communications and he had

cameras all over the office.

        23.     He used to send us emails or call us about what we were doing in the office even

when he was not there because he would either be watching the surveillance footage remotely or

would call staff members and ask them to spy on their colleagues.

        24.     Initially, with regard to the sexual harassment, I did not go to Marnie because I did

not trust her. I was notified by Matt Bennet that if I reported sexual harassment or discrimination

and harassment in the workplace due to my sex and gender that I would find myself terminated.

        25.     Matthew Bennett told me stories about another female staff member who reported

discrimination and harassment and sexual harassment and the male staff members were directed

to lie in order to discredit the reporting victim.

        26.     I was informed that any report to Marnie Meyer would go through Greg Roman.

        27.     I came forward and reported the sexual assault and sexual harassment after I learned

that Marnie escalated Lisa’s complaints of harassment.

        28.     When Marnie escalated Lisa Barbounis’s reports of sexual harassment and

unwelcome sexual touching, Marnie also reported sexual harassment and discrimination and

harassment to which Marnie was subjected.


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       29.     Things were difficult for the Middle East Forum after Roman was barred from

working in the Philadelphia offices in order to protect the female staff.

       30.     Dr. Pipes was not prepared to take on the added responsibilities and it impacted

the Middle East Forum which impacted my ability to do my job.

       31.     Ultimately, Lisa approached Dr. Pipes about bringing Roman back in a very limited

and probationary capacity.

       32.     Marnie consistently opposed to the idea of lifting any of the restrictions that were

placed upon Greg Roman to protect the female staff members.

       33.     Ultimately Marnie Meyer was right, because as soon as the restrictions were lifted,

Greg Roman subjected female staff members to retaliation.

       34.     Shortly after Roman’s return he went back to his old ways, levying for power and

trying to pit the female staff members who reported sexual harassment against one another.

       35.     I sent several emails to Dr. Pipes about Greg Roman’s behavior after his return.

       36.     Despite at least four emails with reports of Greg Roman violating the terms upon

which Greg Roman was permitted to return to the Middle East Forum, nothing was done to address

Greg Roman’s behavior.

       37.     Daniel Pipes either ignored my continued reports of retaliation or ordered me to go

figure it out with Greg Roman on my own.

       38.     Roman gossiped about Marnie to Matthew Bennett, who no longer worked for the

Middle East Forum, and who had never liked Marnie.

       39.     I heard rumors that Bennett and Roman had started about Marnie sleeping with

Caitriona Brady’s father to get a job.


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       40.    Marnie and Caitriona were both very upset about these rumors, but to the best of

my knowledge, Dr. Pipes did nothing about it.

       41.    I reported to Dr. Pipes that Caitriona was very upset about the rumors started by

Greg Roman.



   I declare under penalty of perjury that the foregoing is true and correct.




                                  Patricia McNulty
   Signature of Declarant: ___________________________________________


   Name of Declarant: ______________________________________________


              February 10
   Date: ____________________, 2021




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